Exhibit 10

USWGO
QANON // DRAIN THE SWAMP
MAKE AMERICA GREAT AGAIN

 

MARTINSVILLE VIRGINIA CIRCUIT COURT CASE NO. CR19000009-00

UNITED STATES DISTRICT COURT CASE NO. 1:13-CR-435-1
MIDDLE DISTRICT OF NORTH CAROLINA

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 1of8
. Brian Hf a @
MRN: MM00370912

ACCT: MM760676 1243

Sovah Health Martinsville

320 Hospital Drive -
Martinsville, VA 24112

276-686-7237 “)% OG 1343

Emergency Department - Hill, Brian DB
instructions for:
Arrival Date: Friday, September 21, 2018

Thank you for choosing Sovah Health Martinsville for your care today. The examinatton and treatment
you have received In the Emergency Department today hava been rendered on an emergency basis only
and are not intended to be a substitute for an effort to provide complete medical care. You should contact
your follow-up physician as it is important that you let him or er check you and report any new or
remaining-problems since it is impossible to recognize and treat all elements of an Injury or illness in a
single emergency care center visit.

Care provided by: Hinchman, Brant, DO

 

 

Diagnosis: Abrasion, right knee; Abrasion of unspecifted front wall of thorax
DISCHARGE INSTRUCTIONS FORMS
VIS, Tetanus, Diphtheria (Td) - CDC Medication Reconciliation

Abrasion, Easy-to-Read
Knee Pain, Easy-to-Read

FOLLOW UP INSTRUCTIONS PRESCRIPTIONS

Private Physician ‘

When: Tomorrow; Reason: Further diagnostic
work-up, Recheck today's complaints, Continuance
of care
Emergency Department

When: As needed; Reason: Fever > 102 F,
‘Trouble breathing, Worsening of condition

SPECIAL NOTES.
None

 

 

None

 

 

 

 

 

 

National Hopeline Network: 1-800-784-2433

If you received a narcotic or sedative medication during your Emergency Department stay you
should not drive, drink alcohol or operate heavy machinery for the next 8 hours as this medication
can cause drowsiness, dizziness, and decrease your response time to events,

| hereby acknowledge that | have received a copy of my transition cate record and understand the

  
 
 

 

   

above aan Ir prescriptions.
t *
fe Brian Dil Gp
Brian Hill hyslelan or Nurse
72018 04:52
NWwiMa0370912 MM7806761243 SOVAH Health - Martinsville

Discharge Instructions ~ Scarmed - Page 1/3 Job 23328 (05/17/2018 13:34) - Page 1 Doc# 1

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 2? of 8
EMERGENCY DEPARTMENT RECORD

Physician Documentation

Sovah Health Martinsville

Name: Brian Hill

Age: 28 yrs : \

Sex: Male ‘
DOB: 05/26/1990

MRN: MM00370912 .

Arrival Date: 09/21/2018

Time: 04:04
Account#: “M7806761243
Bed ER 9

Private MD: .

ES Physician Hinchman, Brant

HPI:

09/21

04:40 This 28 yrs old White Male presents to ER via Law Enforcement with bdh
complaints of Knee Pain,

059/21

04:48 28-year-old male with diabetes and autism presents for evaluation bdh
after complaining of right knee pain and scrapes and abrasions.

Patient was apparently taking pictures of himself in the nude across

town this evening and when police attempted apprehend him brain

through Briar patch. Patient does report scratches and abrasions to .
the right knee but no pain on range of motion. Unknown last tetanus..

Historical:

- Allergies: Ranitidine; a “
- PMHx: autism; Diabetes ~ IDDM; OCD;

- Exposure Risk/Travel Screening:: Patient has not been cut of the
country in last 30 days. Have you been in contact with anyone who

is ill that has traveled outside of the country in the last 30

days? No. .

- Social history:: Tobacco Status: The patient states he/she has
never used tobacco. The patient/guardian denies using alcohol,

street drugs, The patient's primary language is English. The
Patient's preferred language is English.

- Family history:: No immediate family members are acutely ill.

~ Sepsis Screening:: Sepsis screening negative at this time.

— Suicide Risk Screen:: Have you been feeling depressed in the last
couple of weeks? No Have you been feeling nopeless to the extent

that you would want to end your lite? No Have you attempted suicide
or had a plan to attempt within the last 12 months? No.

- Abuse Screen:: Patient verbally denies physical, verbal and
emotional abuse/neglect. ~
- Tuberculosis screaning:: No symptems or risk factors identified.

~ The history from nurses notes was reviewed: and my personal history
differs from that reported to nursing.

ROS:

OS/21
04:49 All other systems are negative, except as documented below. bch

Constitutional: Negative for chills, fever. Respiratory: Negative for

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ED Physician Record - Electronic - Page 1/4 Job 23328 (05/17/2019 13:34) - Page 4 Doci# 2

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 3 0f8
Brian Hill , Q

MRN; MM00370912
ACCT: MM7806761243

FOLLOW UP INSTRUCTIONS

Private Physician
When: Tomotrow .
Reason: Further diagnostic work-up, Recheck today's complaints, Continuance of care

- Emergency Department
When: As needed
Reason: Fever > 102 F, Trouble breathing, Worsening of condition

:

7 BOLI Ap

MMo0370912 MM7806761243 SOVAH Health - Martinsville
Discharge Instructions - Scanned - Page 3/3 dob 23326 (05/17/2019 13:34) - Page 3 Doc# 1

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 4ofs
Brion Hill 2
-MRN:MM00370912

ACCT; MM7806761243
MRN # MM00370912

X-RAYS and LAB TESTS:
It you had x-rays today they were read by the emergency physician. Your x-rays will also be read by a radiologist within 24 hours. If you
had a culture done it will take 24 to 72 hours fo get the rasulls. If there is a change In the x-ray dilagnosls or a poallive culture, we will

- contact you, Please verify your current phona number prior to discharge ot the check out desk,

MEDICATIONS:

if you racelved a prescription for medication(s)-today, its impartant.that when you fill this you lel thé: pharmacist know all the other
medications that you are on and any eilergias you might have. ft [s-also important that you notify your foltow-up physician of all your
medications including the prescriptions you may recelve today.

TESTS AND PROCEDURES

Labs

None

Rad
Nene

Procedures
None

Other
Call ERT, IV saline lock

Chart Copy

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MM00370912 MM7806761243 SOVAH Health ~ Martinsville
Discharge Instructions - Scanned - Page 2/3 Job 23328 (05/17/2019 13:34) - Page 2 Doc# 1

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 5ofs
cough, dyspnea on exertion, shortness of breath. MS/extremity:
Positive for pain, Negative for decreased range of motion,
paresthesias, swelling, tenderness, tingling. Skin: Positive for
abrasion(s), Negative for rash, swelling.

Exam:

09/21

04:45 Constitutional: This. is a well developed, well nourished patient who bdh
is awake, alert, and in no acute distress. Head/Face: Normocephalic,
atraumatic. Eyes: Pupils equal round and reactive to light,.
extra-ocular motions intact. Lids and lashes ‘normal. .Conjunctiva
and sclera are non-icteric and not injected. Cornea within normal
limits. Periorbital areas with no swelling, redness, or edema. ENT:
Oropharynx with no redness, swelling, ox masses, exudates, or
evidence of obstruction, uvula midline. Mucous membranes moist. No
meningismus. Neck: Supple, full range of motion without nuchal
rigidity, or vertebral point tenderness. No Meningismus. ‘No JVD
Cardiovascular: Regular rate and rhythm with a normal Sl and S2. Wo
gallops, murmurs, or rubs. No JVD. No pulse deficits. Respiratory:
Lungs have equal breath sounds bilaterally, clear to auscultation and
percussion. No rales, rhonchi or wheezes noted. No increased work
of breathing, no retractions or nasal flaring. Abdomen/GI: Soft,
non-tender, with normal bowel sounds. No distension cr tympany. No
guarding or rebound. No pulsatile mass. Back: No spinal
tenderness. No costovertebral tenderness. Full range of motion.
Skin: Multiple superficial abrasions to the groin and abdomen
without fluctuance or tenderness. MS/ Extremity: Pulses equal, no
cyanosis. Nettrrovascular intact. Full, normal range of motion. Wo
peripheral edema, tenderness, Abrasion to right knee but nontender,
no deformity or swelling. Ambulating without difficulty. Neuro:
Awake and alert, GCS 15, oziented to person, place, time, and
situation. Cranial nerves II-XII grossly intact. Psych: Awake,
aiert, with orientation to person, Place and time. Benavior, mood,
and affect are within normal limits.

Vital Signs:

09/23

04:05 BP 124 / B6; Pulse 119; Resp 19; Temp 98; Pulse Ox 98% ; Weight 99.79 jt

kg; Height 6 ft. 0 in. (182.88 cm); Pain 0/10;

02/21 .
05:01 BP 119 / 80; Pulse 106; Resp 16; Teme 98.2; Buise Ox 995 ; Pain 0/10; jt

09/21

04:09 Body Mass Index 29.84 (99.79 kg, 182.88 cm) jt
MOM:

09/21

04:04 MSE Initiated by Provider. bdh
09/21

04:50 Differential diagnosis: fracture, sprain, penetrating trauma, et al. bdh ~

ED course: Cleared from a psychiatric standpoint by Behavioral '
Health. Patient will be discharged to jail. No new complaints... Data

reviewed: vital signs, nurses notes. Counseling: I had a detailed

discussion with the patient and/or guardian regarding: , the historical
points, exam findings, and any diagnostic results supporting the

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ED Physician Record - Etectronic - Page 2/4 Job 23328 (05/17/2019 13:34) - Page 5 Doc# 2

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 6of8
discharge/admit diagnosis, the need for outpatient follow up, to
return to the emergency department if symptoms worsen or persist or
if there are any questions or concerns that arise at hone.

09/21

04:16 Order name: Call ERT: Complete Time: 04:25 bdh
09/21 .
paya6 Order name: IV saline lock; Complete Time: 04:36 bdh
03/2

04:29 Order name: Other: NO suicidal homicidal risk; Complete Time: 05:03  bdh

Dispensed Medications:
Discontinued: NS 0.5% 1000 ml IV at 999 mL/hr once
9/2
04:36 Drug: Tetanus-Diphtheria Toxoid Adult 0.5 ml (Manufacturer: Grifols ' dbl
Therapeutics. Exp: 09/27/2020. Lot #; Al12A. } Route: IM; Site: right
deltoid;
03/21 ‘
05:04 Follow up: Response: No adverse reaction ibl
o9/21
04:36 Drug: NS 0.9% 1000 ml Routes Iv; Rate: 999 mL/hr; Site: right arm: ipl
Delivery: Primary tubing;
o9/2i
05:11 Follow up: IV Status: Completed infusion dr

Disposition:

95/21

94:52 Electronically signed by Hinchman, Brant, DO at 04:52 on 09/21/2018. bdh
Chart complete.

Disposition:

05/21/18 04:52 Discharged to Jail/Police. Impression: Abrasion, right knee,
Abrasion of unspecified front wall of thorax.

~ Condition is Stable,

- Discharge Instructions: VIS, Tetanus, Diphtheria (Td) - cbc,

Abrasion, Easy-to-Read, Knee Pain, Easy-to-Read.

~ Medication Reconciliation form.

- Follow up: Private Physician; When: Tomorrow; Reason: Further
diagnostic work-up, Recheck today's complaints, Continuance of
care. Follow up: Emergency Department; When: As needed; Reason:
Fever > 102 F, Trouble breathing, Worsening of condition.

- Problem is new.

~ Symptoms have improved.

Order Results:
There are currently no results for this order.

Signatures:
Dispatcher MedHost EDYS
Tate, Jessica, RN RN jt
Hinchman, Brant, DO DO bdh
fviiMig0370912 MM7806761243 SOVAH Health - Martinsville :
ED Physician Record - Electronic - Page 3/4 Job 23328 (05/17/2019 13:34) - Page 6 Doc# 2

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 7 of8s
Ramey, Nicole nmr

Bouldin, Lauren, RN RN bl

Reynolds, Daniel R RN dr

ore ons: {The following items were deleted from the chart)

04:48 09/21 04:16 COMPREHENSIVE METABOLIC PANEL+LAB ordered. EDMS EDNS

04/48 09/21 04:16 COMPLETE BLD COUNT W/AUTO DIFF+LAB ordered, EDMS EDMS .
04c43 09/21 04:16 CPK, TOTAL+LAB ordered. EDMS EDMS

04.50 09/21 04:16 ALCOHOL, ETHYL+LAB ordered. EDMS EDMS

04:50 09/21 04:16 STAT OVERDOSE PANEL+LAB ordered. EDMS ‘ EDMS

04:52 09/21 04:52 09/21/2018 04:52 Discharged to dail/Police. Impression: bdh
Abrasion, tight knees Abrasion of unspecified front wall of thorax.

Condition is Stable. Discharge Instructions: Medication

Reconciliation. Follow up: Private Physician; When: Tomorrow; Reason:

Further diagnostic work-up, Recheck today's complaints, Continuance

of care. Follow up: Emergency Department; When: As needed; Reason:

Fever > 102 F, Trouble breathing, Worsening of condition. Problem is

new. Symptoms have improved, bdh

09/21 '
04:54 09/21 04:16 URINALYSIS W/REFLEX TO CULTURE+LAS ordered. EDMS EDS

Pe ree ete eb a ee a EEE RR PEE EEK ee eae

‘MMO00370912 MM7&06761243 SOVAH Health - Martinsville
ED Physician Record - Electronic - Page 4/4 Job 23328 (05/17/2019 13:34) - Page? Doc#2

 

Case 1:13-cr-00435-TDS Document 181-11 Filed 07/22/19 Pane 8ofs
